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1    RICHARD A. HARRIS, ESQ.
     Nevada Bar No. 505
2
     JOSHUA R. HARRIS, ESQ.
3    Nevada Bar No. 9580
     RICHARD HARRIS LAW FIRM
5    801 South Fourth St.
6
     Las Vegas, NV 89101
     Tel. (702) 444-4444
7    Fax    (702) 444-4455
     Email kym@richardharrislaw.com
8    Attorneys for Plaintiff
9
                                  UNITED STATES DISTRICT COURT
10
                                          DISTRICT OF NEVADA
11

12    MONICA HINOSTROZA,                                 CASE NO.: 2:17-cv-02561-RFB-NJK

13                           Plaintiff,                   JOINT INTERIM STATUS REPORT
14
     vs.
15
     DENNY’S INC., d/b/a DENNY’S
16   RESTAURANT, a Foreign Corporation;
     DOES 1 through 20; ROE BUSINESS
17
     ENTITIES 1 through 20, inclusive jointly and
18   severally,

19                            Defendants.
20

21
              Under the Court’s Order entered on March 29, 2018 and LR 26-3, the parties through

22
     their counsel of record submit this Joint Interim Status Report.

23
           I. Discovery Completed to Date

24            •   Denny's Inc. exchanged FRCP 26(a) disclosures on November 9, 2017.

25            •   Plaintiff exchanged FRCP 26(a) disclosures on November 15, 2017.

26            •   Denny's Inc. propounded its first set of written discovery on Plaintiff on November
27                9, 2017.
28            •   Plaintiff propounded written discovery on Denny's Inc. on December 6, 2017.

              •   Plaintiff requested a site inspection and outlined his proposed FRCP 30(b)(6) topics


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1            to Denny's Inc. 's counsel.
2
         •   Denny's Inc. and Plaintiff have been diligently requesting Plaintiff's medical records.
3
         •   The parties stipulated on December 27, 2017 to continue discovery.
5
         •   Plaintiff responded to Denny's Inc.'s first set of written discovery on January 19,
6
             2018.
7
         •   Denny's Inc. responded to Plaintiff's first set of written discovery on February 13,
8
             2018.
9
         •   On February 6, 2018, the parties stipulated to allow a site inspection of the Subject
10
             Property on March 1, 2018.
11
         •   On February 14, 2018, Denny's Inc. proposed its proposed stipulation for a
12
             protective order and confidentiality agreement.
13

14
         •   On February 15, 2018, Denny's Inc. disclosed its First Supplemental Supplement to

15
             its Rule 26(a) disclosures. This included 739 pages of documents.

16       •   On February 26, 2018, Plaintiffs’ counsel reported her injury to defense counsel and

17           the parties agreed to continue discovery to accommodate counsel's injuries.

18       •   On February 28, 2018, Denny's Inc. propounded its Second Set of Request for
19           Production of Documents.
20       •   On May 9, 2018, Plaintiff’s expert conducted a site inspection.
21       •   On June 15, 2018, Denny's Inc. took the deposition of Yovanni Suasnabar.
22
         •   On July 2, 2018, Denny’s Inc. took the deposition of Jose Pereira.
23
         •   On July 18, 2018, Denny's Inc. took the deposition of the Plaintiff.
24
         •   On July 19, 2018, Denny's Inc. conducted an IME of the Plaintiff.
25
         •   On July 19, 2018, Denny's Inc. took the deposition of Maria Beccerra.
26
         •   On July 20, 2018, Denny's Inc. took a no-show deposition of Katia Moreno.
27
         •   On July 20, Denny's Inc. took a no-show deposition of Starlin Burgos.
28
      II. Discovery to be Completed

         •   Depositions of any medical providers.

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1             •   Depositions of experts.
2
              •   Depositions of any other percipient witnesses.
3
              •   Any other written discovery the parties deem necessary.
5
         III. Trial Estimate
6
     The parties estimate needing seven to fifteen days to complete the trial. Kym S. Cushing for
7
     Plaintiff Monica Hinostroza and Riley A. Clayton and Troy Clark for Defendant Denny's Inc.
8
     will try the case.
9
         IV. Miscellaneous
10
     The parties discussed but decline holding the trial before the magistrate judge and using the
11   Short Trial Program. The parties are considering mediation using a private mediator or
12   settlement conference through the Court.
13   Dated:                                        Dated:
14

15   Richard Harris Law Firm                       Hall Jaffe Clayton

16
      By: /s/ Kym S. Cushing                       By: /s/ Troy A. Clark
17
      Kym S. Cushing, Esq.                         Riley A. Clayton, Esq.
      801 South 4th Street                         Troy A. Clark, Esq.
18    Las Vegas, NV 89101                          7425 Peak Drive
                                                   Las Vegas, NV 89128
19    Attorney for Plaintiff,
      Monica Hinostroza                            Attorney for Defendant Denny’s Inc.
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